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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:08CR00063-04 JLH

PATRICK JONES                                                                         DEFENDANT


                                              ORDER

       The Court directs the probation officer to excuse Patrick Jones from the obligation to work

regularly at a lawful occupation during the time that he is enrolled as a full-time student.

       IT IS SO ORDERED this 31st day of August, 2009.




                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
